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        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)

        RAS Citron, LLC
        Authorized Agent for Secured Creditor
        130 Clinton Road, Lobby B, Suite 202
        Fairfield, NJ 07004
        Telephone: 973-575-0707
        Facsimile: 973-404-8886

        Laura Egerman, Esq. (LE-8250)

        In Re:                                                     Case No.:    19-10361-JKS

        Vincent Goodman,                                           Chapter:     7

                  Debtor.                                          Hearing Date: March 12, 2019

                                                                   Judge:       John K. Sherwood

                     NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                            HEARING DATE AND TIME:
                                             March 12, 2019 at 10:00 a.m.

                            ORAL ARGUMENT IS REQUESTED IN THE EVENT
                                   OPPOSITION IS TIMELY FILED
       TO:

Debtor-                      Debtor’s Attorney-            Trustee-                   U.S. Trustee-
Vincent Goodman              Lawrence Lofaro               Jay L. Lubetkin            U.S. Trustee
325 East Lake Avenue         Arnold & Lofaro               Rabinowitz, Lubetkin &     US Dept of Justice
Rahway, NJ 07065             51 Newark St.                 Tully, L.L.C.              Office of the US Trustee
                             Ste. 305                      293 Eisenhower Parkway,    One Newark Center
                             Hoboken, NJ 07030             Suite 100                  Suite 2100
                                                           Livingston, NJ 07039       Newark, NJ 07102

                 PLEASE TAKE NOTICE that on March 12, 2019 at 10:00 a.m., or as soon thereafter as
       counsel may be heard, RAS Citron, LLC, attorneys for Nationstar Mortgage LLC d/b/a Mr.
       Cooper the within creditor ("Creditor"), shall move before the Honorable John K. Sherwood,
       United States Bankruptcy Judge, at 50 Walnut Street, 3rd Floor, Newark, N.J. 07102, Courtroom
       3D for an Order pursuant to 11 U.S.C. §362(d)(1) granting such Creditor relief from automatic

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stay or, for costs and disbursements of this action, and for such other and further relief as to the
Court may seem just and proper.

          PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned
shall rely on the accompanying Certification in Support of Motion for Relief. A proposed form
of Order is also being submitted. A Memorandum of Law has not been submitted because the
issues raised by the Motion are not extraordinary or unusual necessitating the filing of legal
briefs.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the
Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii)
be filed with the CLERK, UNITED STATES BANKRUPTCY COURT, Martin Luther
King, Jr. Federal Building, 50 Walnut Street, Newark, NJ 07102 and simultaneously served
on Secured Creditor's counsel, RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202,
Fairfield, NJ 07004 so as to be received no later than seven (7) days before the return date set
forth herein.

          PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,
the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief
requested may be granted without a hearing.

          PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in
accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

 DATED: February 13, 2019
                                                     RAS Citron, LLC
                                                     130 Clinton Road, Lobby B, Suite 202
                                                     Fairfield, NJ 07004
                                                     Telephone: 973-575-0707
                                                     Facsimile: 973-404-8886

                                                     By: /s/ Laura Egerman____
                                                     Laura Egerman, Esquire
                                                     Bar ID: LE-8250
                                                     Email: legerman@rasnj.com




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